                   Case 19-15579           Doc 17    Filed 09/03/19   Page 1 of 9



     UNITED STATES BANKRUPTCY COURT FOR THE DISTRICT OF MARYLAND
                            Greenbelt Division

IN RE:

         KIMBERLY HILL                                                 Case No.: 19-16106
                                                                       Chapter 13
                                  Debtor

                                           CHAPTER 13 PLAN

                  Original Plan              X Amended Plan            Modified Plan

1.       GENERAL PLAN PROVISIONS

        The Debtor proposes the following Chapter 13 Plan and makes the following declarations
(mark one of the following boxes that apply for each of 1.1, 1.2 and 1.3 below). If a box is
marked as “does not. . .” or if more than one box is marked, the provision will be ineffective if
set out later in the plan.

         1.1 Declaration as to Nonstandard Provisions

This Plan:      X This Plan does not contain nonstandard provisions.
OR
                   This Plan contains nonstandard provisions set out in Section 9. below.

         1.2 Declaration as to Limiting Secured Claims

This Plan:      X This Plan does not limit the amount of a secured claim.
OR
                  This Plan limits the amount of a secured claim based on the value of the
                collateral securing the claim as set out in Sections 5.1 through 5.4 below.

         1.3 Declaration as to Avoiding Security Interests

This Plan:      X This Plan does not avoid a security interest or lien.
OR
                   This Plan avoids a security interest or lien as set out in Sections 5.1 through 5.4
                  below

2.       NOTICES.

         You should read this plan carefully and discuss it with your attorney if you have one in


                                                    -1-
                  Case 19-15579       Doc 17     Filed 09/03/19     Page 2 of 9



       this bankruptcy case. If you do not have an attorney, you may wish to consult one.


       2.1 Notices to Creditors.

       Your rights may be affected by this Plan. Your claim may be reduced, modified, or
eliminated. The declarations set out in Section 1 above may be of particular importance.

        If you oppose the Plan's treatment of your claim or any provision of this Plan, you or your
attorney must file an objection to confirmation at least 7 days before the date set for the hearing
on confirmation, unless otherwise ordered by the Bankruptcy Court. The Court may confirm this
Plan without further notice if no objection to confirmation is filed. See Bankruptcy Rule 3015.
In addition, you may need to file a timely proof of claim in order to be paid under the Plan.

       2.2 Notice to Debtors.

       This form lists options that may be appropriate in some cases, but not all cases. Just
because an option is listed on the form does not mean that it is appropriate for you. Plans
contrary to the local rules and Court rulings may not be confirmed.

3. PLAN TERMS

       The Debtor's future earnings are submitted to the supervision and control of the Trustee,
and the Debtor will pay as follows (mark and complete one of 3.1, 3.2, or 3.3 and/or 3.4 below;
and, optionally, 3.5 as applicable):

       3.1 Even Monthly Payments.

       $         per month for a term of        months.
OR

     X 3.2 Varying Monthly Payments

       $ 100.00 per month, commencing with the payment due May 24, 2019, for a period of
       12 months;
       $ 1,032.00 per month, commencing with the payment due May 24, 2020, for a period of
       48 months; for a total term of 60 months.

OR

       3.3 Varying Monthly Payments Before and After Confirmation

       $          per month before confirmation of this Plan (use Section 4.6.1 below to list the


                                                -2-
                  Case 19-15579       Doc 17     Filed 09/03/19     Page 3 of 9



adequate protection payments to be made before confirmation), and $             per month after
confirmation of this plan, for a total term of   months.

AND/OR


       3.4 Additional Payments.

       In addition to monthly Plan payments under 3.1, 3.2, or 3.3., above, the Debtor will make
the payments listed below:

Amount                        Date                          Source of Payment

       3.5 Additional Payment of Tax Refunds.

        The Debtor will provide the Trustee with copies of state and federal tax returns for the
years listed below within 15 days of filing the returns (and must timely file the returns on or
before April 15 of each year). Not later than June 1 of each year, the Debtor will pay into the
Plan the amount of refunds exceeding $                 (the amount already pro rated on Schedule 1,
if any) for each of the listed years unless otherwise ordered by the Court. The tax refund
payments are in addition to, and not a credit against, the other payments required to be paid under
the Plan. The Debtor will not make any change to the number of any federal and state tax
withholding allowances claimed as of the petition date without 30 days prior notice to the
Trustee.

This commitment covers tax years:

4. DISTRIBUTION OF PLAN PAYMENTS.
   From the payments made, the Trustee will make distributions in the order listed below:

       4.1 Trustee's Commission.
       The Trustee will receive the allowed Trustee commission under 11 U.S.C. Section
1326(b)(2)

       4.2 Administrative Claims.
       Next to be paid, except as provided in Section 4.3 below, are administrative claims under
11 U.S.C. Section 507(a)(2), including Debtor's Counsel fee balance of $3,310.00 due and
payable pursuant to a fee arrangement made under Subparagraphs 4.A, B, or C of Appendix F to
the Local Bankruptcy Rules.

      4.3 Domestic Support Obligations and Non-Appendix F Attorney Fees.
      Next to be paid, at the same time and pro rata, are allowed unsecured claims for: (i)
domestic support obligations under 11 U.S.C. Section 507(a)(1); and (ii) any Debtor's Counsel


                                                -3-
                 Case 19-15579        Doc 17    Filed 09/03/19     Page 4 of 9



fee allowed under 11 U.S.C. Section 507(a)(2) by Bankruptcy Court order following an
application pursuant to a fee arrangement under Section 7 of Appendix F to the Local Bankruptcy
Rules, Debtor's Counsel fee balance to be paid through the Plan is expected to be in the amount
of $             .

       4.4 Former Chapter 7 Trustee Claims.
       Next to be paid are any claims payable to the former Chapter 7 Trustee under 11 U.S.C.
Section 1326(b)(3). List the monthly payment: $ 0.00.               .


        4.5 Priority Claims.
        Next to be paid are other priority claims defined by 11 U.S.C. Section 507(a)(3)-(10).
List expected claims below:

       Priority Creditor                             Expected Claim Amount


        4.6 Secured Claims
        Next to be paid, at the same time and pro rata with payments on priority claims under
Section 4.5 above, are secured claims as set forth below. The holder of an allowed secured claim
retains its lien under 11 U.S.C. Section 1325(a)(5)(B)(i). Any allowed secured claim listed in the
Plan to be paid by the Trustee will be deemed provided for under the Plan. Any allowed secured
claim not listed in the Plan to be paid by the Trustee, or not stated to be paid outside of or
otherwise addressed in the Plan, will be deemed not provided for under the Plan and will not be
discharged.

                 4.6.1. Adequate Protection Payments for Claims Secured by or Subject to a
                 Lease of Personal Property
                 Beginning not later than 30 days after the petition date and until the Plan is
 confirmed, the Debtor will directly pay adequate protection payments for claims secured by or
subject to a lease of personal property for: None       X      or the Claims Listed Below
(mark one box only). After confirmation of the Plan, the claims will be paid under Section 4.6.3.
Make sure to list the amount of the monthly payment the Debtor will pay before confirmation,
and list the last 4 digits only of the account number, if any, the lienholder uses to identify the
claim:

Lienholder     Property Collateral           Acct. No.(last 4 numbers)     Monthly Payment




               4.6.2. Pre-petition Arrears on Secured Claims.
               Pre-petition arrears on secured claims will be paid through the Plan in equal


                                               -4-
                  Case 19-15579       Doc 17     Filed 09/03/19       Page 5 of 9



monthly amounts while the Debtor directly pays post-petition payments beginning with the first
payment due after filing the petition for: None        or the Claims Listed Below X (mark
one box only). The claims listed below include: Claims Secured by the Debtor's Principal
Residence X and/or Other Property               .

Lienholder             Collateral             Arrears         Monthly Payment         No. of Months

Rushmore Loan    37070 West Spicer            $40,250.20              $856.39                47
     Management Services, LLC

                 4.6.3 Secured Claims Paid Through the Plan.
                 The following secured claims will be paid through the Plan in equal monthly
amounts for: None X                or the Claims Listed Below            . (mark one box only).
Such secured claims include secured claims altered under Sections 5.1 through 5.5 below. Make
sure to list the interest rates to be paid:

                                                                        Monthly        No. of
Lienholder             Collateral             Amount          %Rate     Payment        Months


                 4.6.4. Surrender Collateral to the Lienholder.
                 The Debtor will surrender collateral to the lienholder for: None      X      or the
Claims Listed Below                   .(mark one box only). Describe the collateral securing the
claim. Any allowed claim for an unsecured deficiency will be paid pro rata with general
unsecured creditors. Unless the Court orders otherwise, a claimant may amend a timely filed
proof of claim for an unsecured deficiency after entry of the confirmation order as follows: (a)
the amended proof of claim asserting an unsecured deficiency claim for real property shall be
filed within 181 days (no less than 180 days) after entry of the confirmation order; (b) the
amended proof of claim asserting an unsecured deficiency claim for personal property shall be
filed within 61 days (no less than 60 days) after entry of the confirmation order. Upon plan
confirmation, the automatic stay of 11 U.S.C. Section 362 and 1301 terminates, if not terminated
earlier, as to the collateral listed:

Lienholder                            Collateral to be Surrendered

                4.6.5 Secured Claims Outside of the Plan
                The Debtor will directly pay the secured claims outside of the Plan for: None X
  of the Claims Listed Below               . (mark one box only). Such claims are deemed
provided for under the Plan. The Debtor will also directly pay outside of the Plan he unsecured
portion of a claim that is only partially secured, and any such unsecured claim is deemed
provided for under the Plan:

Lienholder                            Collateral to Be Paid for Outside of the Plan


                                                -5-
                    Case 19-15579      Doc 17     Filed 09/03/19      Page 6 of 9




                4.6.6 Secured Claim Not Listed in the Plan.
                The Debtor will directly pay any allowed secured claim not listed in the Plan
outside of the Plan. Any such claim will not be discharged.

               4.6.7 Additional Payments on Secured Claims.
               If the Trustee is holding more funds than those needed to make the payments
under the Plan for any month, the Trustee may pay amounts larger than those listed in Sections
4.6.2 and 4.6.3 pro rata.

       4.7 Unsecured Claims.
       After payment of all other claims, the remaining funds will be paid on allowed general
unsecured claims as follows (mark one box only):

     X   Pro Rata                     100%                   100% Plus             Interest.

If there is more than one class of unsecured claims, list each class and how it is to be treated:

Class of Unsecured Creditors                                          Treatment


5.      THE AMOUNT AND VALUATION OF CLAIMS
        Secured creditors holding claims treated under Section 5 retain their liens until the earlier
of: the payment of the underlying debt determined under nonbankruptcy law; or discharge under
11 U.S.C. Section 1328; or, if the Debtor cannot receive a discharge as provided in 11 U.S.C.
Section 1328(f), the notice of Plan completion. If the case is dismissed or converted without
completion of the Plan, liens shall also be retained by the holders to the extent recognized under
applicable nonbankruptcy law.

        5.1. Valuing a Claim or Avoiding a Lien Under 11 U.S.C. Section 506 Through the
            Plan.
        The Debtor seeks to value a claim or avoid a lien under 11 U.S.C. Section 506 through
the Plan for: None X          or the Claims Listed Below               (mark one box only). The
claims listed below include: Claims Secured by the Debtor's Principal Residence              and/or
Other Property       . Maker sure to list the value of the collateral proposed to be paid through the
Plan plus any interest below and in Section 4.6.3 above, as appropriate. Separately file:
evidence of the collateral's value; the existence of any superior lien; the exemption claimed; and
the name, address, and nature of ownership of any non-debtor owner of the property. If the
lienholder has not filed a proof of claim, also separately file evidence of the amount of the debt
secured by the collateral. The amount and interest rate of the claim is set as listed below or by
superseding Court order. A proof of claim must be filed before the Trustee makes payments.
Any undersecured portion of such claim shall be treated as unsecured.


                                                 -6-
                  Case 19-15579       Doc 17     Filed 09/03/19      Page 7 of 9




                                                                     Monthly        No. of
Lienholder             Collateral             Value     %Rate       Payment         Months


        5.2. Valuing a Claim or Avoiding a Lien Under 11 U.S.C. Section 506 by Separate
        Motion or an Adversary Proceeding.
        The Debtor seeks to value a claim or avoid a lien under 11 U.S.C. Section 506 by
separate motion or an adversary proceeding for: None X or the Claims Listed Below
(mark one box only). The amount and interest rate of the claim will be set by Court order. Make
sure to list the value of the collateral proposed to be paid through the plan plus any interest as
determined by the Court in Section 4.6.3 above, as appropriate. A proof of claim must be filed
before the Trustee makes payments. An undersecured portion of such claim shall be treated as
unsecured.

Lienholder             Collateral


        5.3. Valuing a Claim or Avoiding a Lien Under 11 U.S.C. Section 522(f)* Through
        the Plan
        The Debtor seeks to value a claim or avoid a lien under 11 U.S.C. Section 522(f)*
through the Plan for: None X or the Claims Listed Below                    . (mark one box only).
Make sure to list the value of the collateral proposed to be paid through the Plan plus any interest
below and in Section 4.6.3 above, as appropriate. Separately file: evidence of the collateral's
value; the existence of any superior lien; the exemption claimed; and the name, address, and
nature of ownership of any non-debtor owner of the property. If the lienholder has not filed a
proof of claim, also separately file evidence of the amount of the debt secured by the collateral.
The amount and interest rate of the claim is set as listed below or by superseding Court order. A
proof of claim must be filed before the Trustee makes payments. Any undersecured portion of
such claim shall be treated as unsecured.

                                                                     Monhly        No. of
Lienholder              Collateral              Value %Rate          Payment       Months
*Under 11 U.S.C. Section 522(f) the Debtor may avoid a lien to the extent it impairs an
exemption if the lien is a judicial lien or a nonpossessory, non-purchase money security interest
in certain property.

        5.4. Valuing a Claim or Avoiding a Lien under 11. U.S.C. Section 522(f)* by
Separate Motion or an Adversary Proceeding.
        The Debtor seeks to value a claim or avoid a lien under 11 U.S.C. Section 522(f)* by
separate motion or an adversary proceeding for: None X or the Claims Listed Below
(mark one box only). The amount and interest rate of the claim will be set by Court order. Make
sure to list the value of the collateral proposed to be paid through the Plan plus any interest as


                                                -7-
                  Case 19-15579        Doc 17     Filed 09/03/19      Page 8 of 9



determined by the Court in Section 4.6.3 above, as appropriate. A proof of claim must be filed
before the Trustee makes payments. Any unsdersecured portion of such claim shall be treated as
unsecured.

Lienholder             Collateral

*Under 11 U.S.C. Section 522(f) the Debtor may avoid a lien to the extent it impairs an
exemption of the lien is a judicial lien or a nonpossessory, non-purchase money security interest
in certain property.

        5.5. Claims Excluded from 11 U.S.C. Section 506**
        The Debtor will pay through the Plan the following claims excluded from 11 U.S.C.
Section 506** in full plus any interest for: None X         or the Claims Listed Below              .
(mark one box only). Make sure to list the amount proposed to be paid through the Plan plus
any interest below and in Section 4.6.3 above, as appropriate. The amount of each claim to be
paid will be established by the lienholder's proof of claim or Court order. The interest rate of te
claim is set as listed below or by superseding Court order. A proof of claim must be filed before
the Trustee makes payments.
                                Amount to                     Monthly               No. of.
Lienholder       Collateral     Be Paid        %Rate          Payment               Months


**Claims excluded from 11 U.S.C. Section 506 include claims where the lienholder has a
purchase money security interest securing a debt incurred within the 910-day period preceding
the petition date, and the collateral consists of a motor vehicle acquired for the personal use of
the Debtor, or the collateral consists of any other thing of value if the debt was incurred during
the 1-year period preceding the petition date.

6.      APPLICATION OF PAYMENTS ON ACCOUNT OF SECURED CLAIMS.
        Payments made by the Chapter 13 Trustee on account of arrearages on pre-petition
secured claims may be applied only to the portion of the claim pertaining to pre-petition arrears,
so that upon completion of all payments under the Plan, the loan will be deemed current through
the petition date.

7.      EXECUTORY CONTRACTS AND UNEXPIRED LEASES.
        Any unexpired lease with respect to personal property that has not previously been
assumed during the case, and is not assumed in the Plan, is deemed rejected and the stay of 11
U.S.C. Sections 362 and 1301 is automatically terminated with respect to such property. The
following executory contracts and/or unexpired leases are assumed or rejected for None X
or the Claims Listed Below           (mark one box only). Any claim for rejection damages must
be filed within 60 days from entry of the order confirming this Plan.

Lessor or              Subject of


                                                 -8-
                  Case 19-15579       Doc 17     Filed 09/03/19     Page 9 of 9



Contract Holder        Lease or Contract                     Assumed                Rejected

None.

8.      REVESTING PROPERTY OF THE ESTATE.
        Title to the Debtor's property shall revest in the Debtor when the Debtor is granted a
discharge pursuant to 11 U.S.C. Section 1328; or, if the Debtor cannot receive a discharge as
provided in 11 U.S.C. Section 1328(f), upon the notice of Plan completion; or upon dismissal of
the case.

9.     NON-STANDARD PROVISIONS.
       Any non-standard provision placed elsewhere in the Plan is void. Any and all non-
standard provisions are: None X or Listed Below               (mark one box only).

Non-Standard Plan Provisions

10.    SIGNATURES
       The Debtor's signature below certifies that the Plan provisions above are all the terms
proposed by the Debtor, and the Debtor has read all the terms and understands them. The
signature below of the Debtor and Debtor's Counsel, if any, also certifies that the Plan contains
no non-standard provision other than those set out in Section 9 above.

Date: September 3, 2019                               /s/ Kimberly M. Hill
                                                      Debtor


/s/ Kimberly D. Marshall
Kimberly D. Marshall
Attorney for Debtor




                                                -9-
